            Case 2:09-cr-00355-FCD Document 33 Filed 05/20/10 Page 1 of 2


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 5
 6   Attorney for Defendant
     JUAN SANCHEZ MEDINA
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 8
 9                          IN THE UNITED STATES DISTRICT COURT
10                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
13   UNITED STATES OF AMERICA,       )       No. 2:09-CR-0355 FCD
                                     )
14                  Plaintiff,       )       STIPULATION AND ORDER
                                     )       CONTINUING STATUS CONFERENCE
15        v.                         )       AND EXCLUDING TIME
                                     )
16   JUAN SANCHEZ MEDINA and         )
     BENITO CANUTO GUERRERO,         )       Date: May 24, 2010
17                                   )       Time: 10:00 a.m.
                    Defendants.      )       Judge: Hon. Frank C. Damrell, Jr.
18                                   )
     _______________________________ )
19
20
21         IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
22   of   America,   and    defendants,   Juan   Sanchez   Medina   and   Benito   Canuto
23   Guerrero, that the status conference scheduled for May 24, 2010, may be
24   continued to July 26, 2010, at 10:00 a.m.
25         Counsel for both parties seek additional time to meet and confer
26   regarding two issues that relate to sentencing and therefore affect the
27   proposed resolution of the case.        The parties agree that time under the
28   Speedy Trial Act should be excluded from the date of this order through
              Case 2:09-cr-00355-FCD Document 33 Filed 05/20/10 Page 2 of 2


 1   the   status    conference   on   July   26,   2010,   pursuant   to     18   U.S.C.   §
 2   3161(h)(7)(A) and (B)(iv), so that they may conduct additional research,
 3   meet, and confer.
 4                                             Respectfully submitted,
 5                                             DANIEL J. BRODERICK
                                               Federal Defender
 6
 7   Dated:    May 20, 2010                    /s/ T. Zindel
                                               TIMOTHY ZINDEL
 8                                             Assistant Federal Defender
                                               Attorney for JUAN SANCHEZ MEDINA
 9
10   Dated:    May 20, 2010                    /s/ T. Zindel for D. Koukol
                                               DAN KOUKOL
11                                             Attorney for BENITO CANUTO GUERRERO
12                                             BENJAMIN B. WAGNER
                                               United States Attorney
13
14   Dated:    May 20, 2010                    /s/ T. Zindel for T. Leras
                                               TODD LERAS
15                                             Assistant U.S. Attorney
16
17                                        O R D E R
18         The status conference is continued to July 26, 2010, at 10:00 a.m.
19   Time under the Speedy Trial Act is excluded through that date for the
20   reasons stated above and by agreement of the parties, the Court finding
21   that the ends of justice to be served by a continuance outweigh the best
22   interests of the defendant and the public in a speedy trial.
23         IT IS SO ORDERED.
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25   Dated:    May 20, 2010
                                               ________________________________
26                                             FRANK C. DAMRELL, JR.
                                               UNITED STATES DISTRICT JUDGE
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     Stip. & Order                             2
